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16
                               UNITED STATES DISTRICT COURT
17

18                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                    OAKLAND DIVISION

20                                     )         Case No. 4:19-cv-07123-PJH
     WHATSAPP LLC and                  )
21   META PLATFORMS, INC.,             )
22   ,                                 )         PROPOSED JURY INSTRUCTIONS
                                       )
23                   Plaintiffs,       )
                                       )         Pretrial Conference Date: April 10, 2025
24          v.                         )         Time: 2:00 p.m.
                                       )         Ctrm: 3
25   NSO GROUP TECHNOLOGIES LIMITED )            Judge: Hon. Phyllis J. Hamilton
26   and Q CYBER TECHNOLOGIES LIMITED, )         Trial Date: April 28, 2025
                                       )
27                   Defendants.       )
                                       )
28
       Case 4:19-cv-07123-PJH           Document 587          Filed 03/13/25   Page 2 of 4




 1            Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) and Defendants NSO Group
 2   Technologies Limited and Q Cyber Technologies Limited (“Defendants”) (collectively, the
 3   “Parties”) hereby respectfully submit these Proposed Jury Instructions pursuant to the Court’s Case
 4   Management and Pretrial Order, Dkt. No. 168.
 5            The Parties agree to certain Proposed Jury Instructions, but were unable to agree on the
 6   remaining instructions.
 7            The Proposed Jury Instructions are attached as follows:
 8                   Exhibit A: Joint Proposed Jury Instructions
 9                   Exhibit B: Blind Copy of Joint Proposed Jury Instructions
10                   Exhibit C: Plaintiffs’ Proposed Jury Instructions
11                   Exhibit D: Blind Copy of Plaintiffs’ Proposed Jury Instructions
12                   Exhibit E: Defendants’ Proposed Jury Instructions
13                   Exhibit F: Blind Copy of Defendants’ Proposed Jury Instructions
14            The jury instructions are subject to revision to account for the evidence that is received at
15   trial.
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     PROPOSED JURY INSTRUCTIONS- CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH          Document 587            Filed 03/13/25   Page 3 of 4




      Dated: March 13, 2025
 1                                                 DAVIS POLK & WARDWELL LLP
 2
                                                   By:   /s/ Greg D. Andres
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     PROPOSED JURY INSTRUCTIONS - CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH          Document 587            Filed 03/13/25   Page 4 of 4




 1                                        FILER’S ATTESTATION

 2          Pursuant to Civil L. R. 5-1(i)(3), regarding signatures, Greg D. Andres hereby attests that

 3   concurrence in the filing of the document has been obtained from all of the signatories above.

 4
      Dated:     March 13, 2025                                      /s/ Greg D. Andres
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                                                                     Greg D. Andres
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     PROPOSED JURY INSTRUCTIONS - CASE NO. 4:19-CV-07123-PJH
